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                  UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
______________________________
                                       )
UNITED STATES                          )
                                       )
v.                                     )              1:22-cr-10057-
                                                      AK
                                       )
MONICA CANNON GRANT                    )
______________________________         )


     MOTION TO WAIVE DEFENDANT’S PRESENCE OR CONTINUE HEARING



     NOW COMES the Defendant, Monica Cannon Grant, by and though

her attorney, in the above-captioned matter and requests that this

Honorable Court continue the hearing set for 2:00pm on May 31,

2024 to a date after June 19, 2024 or allow the Defendant’s

presence to be excused and waived from the hearing.              As grounds,

the Defendant had to head out of the Commonwealth for a family

matter and will be able to return to her obligations for two weeks.

The Defendant maintains great communication with counsel and is up

to date on the status of her case.         She waives any time if the

motion to continue is granted.

     In   the   alternative,   the   defense   requests    that    only   the

attorneys be required to appear and defense counsel shall update

the Defendant immediately following the hearing.          The Defendant is
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also reachable by phone and as an alternative, the Defendant seeks

permission to participate remotely by zoom or telephone conference

on 5/31/24 should the first two requests be denied.



     WHEREFORE,   the   Defendant   respectfully    requests     that   this

motion be ALLOWED.



                                         Respectfully submitted,
                                         The Defendant,
                                         By her attorney,


                                         /s/ CLMALCOLM
                                         ____________________________
                                         Christopher L. Malcolm
                                         BBO 684440
                                         185 Devonshire Street
                                         Suite 302
                                         Boston, MA 02110
                                         617-645-0089
                                         clmalcolm@gmail.com
Date: 5/30/24


                            Certificate of Service

   I hereby certify that I sent this motion to the Prosecutor for
the US Government and prior counsel by email and/or by electronic
filing notice service this date.


Date: 5/30/24                        /s/ CLMALCOLM
                                  ____________________________
                                  Christopher L. Malcolm
